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                             IN THE UNITED STATES DISTRICT COURT
                                              FOR
                                      THE ThiRD CIRCUIT

     Rahinan R. Fulton
           (Petitioner)

                                                     Civil Action No. 18-16526 (SRC)
     v                                     Li:

                                                     Crim. No. 13—R-261 (SRC)

     United States of America


                    PEIIITONER’ S MOTION UNDER RULE 1: SCOPE AND PURPOSE”
                        10 COMPEL THE COURT (10 PROCEED IN ITh RULING)
                                 WITH PETITiONER’ S 2255 FILING
                     DUE 10 COMPELLING AND FYIRAORDINARY CIRCUMSTANCES;
                             ThAT PETITIONER iS NOW (2) YEARS PAST
                        THE (DRRECT TIME HE SHOIJU) HAVE BEEN S4ThNCED
                            10, AND PETITIONER (AS A RATTER OF LAW)
                            IS ENTIUED TO “SECURE THE JUST, SPEEDY
                 AND TN (PENSIVE DETERMINATION PURSUANT ‘TV FRAP S1’ATLJ’TE.)


          NOW before the Court, Petitioner Rahman Fulton’s pro se Motion to Compel
     the Court to (GRANT) a ruling on his case for relief in his pending Habeas
     (brpus §2255 petition before the Court currently. This Motion is filed due
     to it being (90 days) past the ourts final Docket filing (#8) dated 7/2/19;
     Petitioner’s Reply to Respondent’s Answer Brief, thus completing the FRAP
     pursuant to Rule 5, and thus under ERAP “Rule 1”; Petitioner is entitled (as
     of legal rights) to a Ruling on his case (timely); in support thereof Petitioner
     states the following:

                                      I.     BRIEF HISTORY

      Petitioner was found guilty of a crime of Rd1yofaR’nkini.èrsey,
in which he “categorically” denies he comitted and argues within his 2255 habeas
corpus filings. Post facto of trial; the Court errored (harmfully) when allowing
Petitioner to be charged pursuant to 924(c) element, instead of under 924(B)(3)
Residual Clause that carried an additional (84) months for a firearm offense for
tt       elements charge.
      Petitioner filed a a Rule 4.1 Motion to Expedite and all parties have complied
with their briefing Requirements; and thus there are no other or outstanding matters
prohibiting this Court from proceeding to a Ruling.

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                            II. STATEMENT OF FACES
     Ped.R. of Procd. states that under Rule 1: “Scope and Purpose”, clearly
states the following;

     The Rules govern the Procedure in all civil action and proceedings in
     the United States District Court, except as stated in Rule 81. They should
     be constructed, administered and employed by the Court and the parties
     to “secure the just, speedy and inexpensive determination of every action
     And proceeding.” (History:)(Amended April 29, 2O15)(eEf. Date Dec. 1, 2015).


                         III.   SPECIFIC RTEF SOUGHT
     Petitioner’s §2255 Motion deals with both his conviction as well as;
incorrect charge of an element pursuant to 924(c).
     Petitioner files this “Rule 1 Motion”; due to extreme (compelling) and
extraordinary reasons, such as the fact that Petitioner is more than (2) years
beyond what he should have been sentenced to, once the Court applied the recent
Supreme Court decision in (Davis) thus correcting Petitioner’s guideline range
downward to time served.
     Petitioner in addition to filing his Habeas Corpus §2255 Application/Memorandum
Brief and Reply Brief; he has also filed a motion for immediate (evidentiary)
hearing under FRAP R. 8.1; that has not been decidea on by the Court at the
time of this Motion being filed.
     Petitioner’s case (at least concerning the 924(c) matter is not at all
complicated, and such Higher and Lower Court decisions has made it even easier/
clearer in favor of Petitioner. Petitioner was charged and sentenced under
the 924(c) element clause; when in fact Petitioner 924(c) charge should have
fallen under the Residual Clause under 924(c)(3)(B); now considered by the
Supreme Court to be unconstitutionally vague and thus cannot stand. Period!
     Petitioner has brought this extrememly important case to light in his
final reply brief; and yet is compelled to file this Motion due to substantial
developments within his case and sentence. As of this. filing, Petitioner has
served (82) months of his (141) months sentence; and the removal of the 924(c)
enhancement would significantly reduce Petitioner’s Sentencing Guidelines
downward to “Time Served”. What’s more; upon the Court removing (84) months
of Petitioner’s sentence, effectively changing his guidelines range; (Fulton)
Petitioner now qualifies for such relief because, at his current ( 8 months
of incarceration would aan that Petitioner (has) and is now currently outliving
tthat should have been a correct sentence of only (57) months. And thus needs


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to be corrected; and thus has been in jail (24) months past the amount of
time the Court should have given Petitioner.

                               IV.   CONDLUSION
     WHEREEORE, Petitioner Rabman R. Fulton, pro Se, hereby respectuily requests
this Honorable Court to “GRANT” this Motion and to enter a Ruling in this
Instant Matter concerning this specific grounds within his Reply Brief of
his 2255 Habeas Corpus filing due to the Recent Supreme Court ruling in U.S.
v. Davis/No. 18431; under 18 USC 924(c)(1XA), (3)(B); finding the Residual
Clause to be unconstitutionally vague and cannot stand; and such Order an
Tnrnediate Release from Custody, also; the Court to address the other grounds
herein Petitioner’s complete filing of his 2255 habeas corpus filing, pursuant
to ERA? Rule 1. Petitioner, at the time of filing this Motion before the Court
when given an appropriate sentence of (57) months (If the Court decides not
to overturn Petitioner’s conviction); is now been illegally incarcerated
    82   plus months and counting; and for such other and further relief deemed
proper and necessary in the interest of Justice.


Data: /cJ//jq                                             ted,

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                                        ihman R. Fultd’n, pro se
                                      Fed. No. 64940-050
                                      LSCI Allenwood 1W
                                      PD BOX 1000
                                      White Deer PA 17887




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                                     AFFIDAVIT

       I IREBY CERTIFY that the foregoing facts are txue and correct to the

best of my knowlege and belief upon pain of penury under 28       usc   §1746.




                                                 Rabman Fulton



                              CERTIFICATE OF SERVICE

       I FWREBY CERTIFY that a copy of the following pleading was mailed on

this     2c’      day of     62-cf                2019 by first class mail; postage

prepaid to Dapiel V. Shapiro (AUSA)/ 970 Broad Strtht, Newark, New Jersey 07102.




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